                Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 1 of 32 PageID: 29



PROTOCOL
OWNED                                                                                            W
LIQUIDITY                                                                                        H
REAL
                                                                                                 I
WORLD                                                                                            T
UTILITY                                                                                          E
                                                                                                 P
                                                                                                 A
                                                                                                 P
 Atbash.finance
                                                                                                 E
 @AtbashProtocol
 t.me/AtbashProtocol
 discord.gg/W4dTXtdcrU
                                                                                                 R
 twitch.tv/atbashprotocol
 Atbashprotocol.medium.com
                      Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 2 of 32 PageID: 30



SUMMARY
The Atbash Protocol is a                    The Treasury plans on holding ETH,         The $BASH token will allow the
decentralized protocol which               DAI, USDC, USDT and other                   Atbash Protocol to provide assistance
creates a circular economy is based        cryptocurrencies in order to provide        for the purchase of properties,
on the $BASH token.                        value, stability and the ability to offer   supplies, business start-up capital
                                           the unique utilities of the $BASH           and property improvement all while
Every $BASH token is backed by a           token.                                      still providing a substantial APY for
treasury of assets in order to give                                                    investors & liquidity providers alike.
the $BASH token an intrinsic value         The bonding mechanisms native to
which the price of $BASH cannot fall       the $BASH token are where the               The Atbash Protocol isn't just joining
below.                                     utilities shine.                            the market, it's leading the market!
                   Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 3 of 32 PageID: 31



WHY ATBASH?                             The Atbash Protocol was created as
                                        an answer to these hardships. The
                                                                                  As of January 2022, several of these
                                                                                  have declined in value by over 90%,
                                        Atbash protocol is not just a             with many other forks that have
                                        cryptocurrency, but a new                 failed to survive at all.
For many years, those in the            realization of crypto’s promise to
crypto community and others             bring mainstream financial products       The Atbash Protocol will become
have faced the full force of            to the alternative financial world.       what those other projects have failed
“cancel culture.”                                                                 to become, which is a decentralized
                                         The Atbash Protocol offers a bridge      cryptocurrency, not based on a Ponzi
This has taken the form of crypto       between crypto and the real world         structure, that fulfills the promises of
holders facing multiple regulatory      for users in a way that is simple to      Protocol Owned Liquidity (POL) and
threats from the government and         understand, easy to use and fully         minimizes the need for the constant
a lack of mainstream adoption           addresses the individual needs of its     addition of new capital.
without transferring tokens into        highly diverse user base.
fiat currency from the private                                                    The circular economy and real world
sector.                                 There have been multiple projects         utility offered by The Atbash Protocol
                                        which have been based on the              brings the ability to take advantage
Crypto holders and traders have         system created by Olympus DAO.            of its own liquidity and utilizes
faced ostracization by the              While these protocols originally met      programming superior to Olympus
banking industry and therefore          with overwhelming success,they            Dao and its forks, while severely
can’t take advantage of                 each suffered catastrophic crashes        minimizing the need to bring in new
traditional banking products like       outweighing their respective rises.       capital for its success.
small business loans, mortgages,        Olympus, its forks, and even its
personal lines of credit and a          largest fork, Wonderland, saw over        Our goal is nothing short of being the
whole host of investment                $4 billion dollars in various assets      bridge between the crypto-world and
products requiring credit and           accumulated by their treasuries, yet      the real world that preserves
collateral.                             these projects have endured               consumer sovereignty while
                                        massive crashes in underlying token       acknowledging the practical need to
                                        value.                                    deploy capital in a timely manner.
                     Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 4 of 32 PageID: 32



ATBASH MISSION
The primary purpose of the                                                           Additionally, the Atbash Protocol
Atbash Protocol is to develop and                                                    will enable those who wish to grow
build an expanding and cohesive                                                      an investment the means to do so
ecosystem that will support and                                                      outside of traditional finance in a
make better use of alternative                                                       manner which allows for those
economies.                                                                           who stake to passively earn more
                                                                                     $BASH tokens while also affording
The Atbash Protocol will provide a                                                   the Atbash community (token
means for people to engage in                                                        holders, stakers and grant
transactions that meet their real-                                                   beneficiaries) access to a number
world needs - housing, shopping,                                                     of highly valuable financial
lines of credit, small business                                                      products and additional utilities
financing, career mentoring and                                                      (further described below).
many others.
                                                                                     Through a number of specialized
                                                                                     protocol mechanics, Atbash will
                                                                                     finally make it possible to truly live
                                                                                     off the financial grid, aided greatly
                                                                                     by the natural anonymity that
                                                                                     characterizes cryptocurrencies.
                      Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 5 of 32 PageID: 33




TREASURY OVERVIEW

As stated above, Olympus DAO               SO WHERE IS THE FLAW?
has added over $1.5 billion dollars
to its treasury over the course of a       Because of the enormous APY offered to those who stake or bond their
year. Wonderland had been able             tokens to these protocols and a lack of substantial revenue and the marketed
to add more than $1 billion                desires of these protocols there was a constant need to attract new investors
dollars to its own treasury in half        in order to generate the promised yield to current holders.
the time.
                                           If this structure sounds like that of a Ponzi, it is because it is that of one. The
Both of these protocols had been           only thing that prevents regulators from deeming this a fraudulent system is
able to use the immense funds              the protocols’ full disclosure of their respective financial structures and
they had had in their respective           payout provisions. Despite this disclosure, these protocols were subject to the
treasuries to earn staking rewards         same sort of horrendous crash scenarios that characterize typical Ponzi
from AMM liquidity, offer an               schemes.
increasingly high minimum peg
for their tokens and invest in new         The Atbash Protocol has created the specific utility necessary to be neither
projects.                                  subject to the need for new capital nor the horrific crashes that occur when
                                           new capital dries up for an extended period of time.

                                           We are not just joining the family of Olympus forks, we are leading them.
                     Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 6 of 32 PageID: 34




THE ATBASH TREASURY
                                                                          "EVERY ONCE IN AWHILE, A NEW
The backing the Atbash                                             TECHNOLOGY, AN OLD PROBLEM, AND A
treasury creates for the $BASH                                       BIG IDEA TURN INTO AN INNOVATION"
token does not require
constant additional capital
                                          The cryptocurrency world has repeatedly failed to break into mainstream
 The Atbash treasury is the               thinking and finance because of its lack of ability to offer real-world services
centerpiece of a circular                 based on decentralized principles. The Atbash Protocol is able to use the
economy based on both the                 financial methods of fiat financial institutions without these institutions’
$BASH token and real-world                baggage.
utility: making it a vital cog
piece within the grand design             The Atbash treasury is going to offer the same services as traditional banks
of Atbash.                                replacing traditional mortgages, small business financing, educational funding,
                                          industrial equipment financing, as well as funding for arts and sciences, a
                                          marketplace for products and professional services and so much more.

                                          The treasury is able to fund these initiatives without requiring the beneficiaries of
                                          these services to incur any debt whatsoever. The debt needed to offer these
                                          services at a tremendous discount is turned into a substantial source of stability to
                                          ensure a consistently growing treasury, without needing to rely on new capital.
                                          Welcome to the new world.
                     Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 7 of 32 PageID: 35




ATBASH BOND INITIATIVES
                                          Single investor purchasing and group property purchases can both be handled by
                                          The Atbash Protocol. For solo buyers to get started, investors will simply need to
                                          stake funds into the Atbash Housing pool to receive a Crypto Collateralized Home
One of the most critical purchases
                                          Grant.
anyone ever makes is also one of
the most difficult to achieve             In a traditional property purchase a buyer needs to either provide 100% of the
without participating in the              purchase price of the property or seek financing from a bank which is paid off
traditional banking system.               over time with additional interest. Not so with The Atbash Protocol. Our system
                                          has a potential property buyer approach the Protocol through the website and
That’s the day when one decides it        submit a request for assistance. The potential buyer submits simple information
is time to buy a home or property         about the property and acknowledges that they currently possess 50% of the total
to build on. The Atbash Housing           selling price of the property. The Atbash Protocol will do some simple due
Bonds exist to help achieve this          diligence and then issue an approval.
end without ever stepping foot
inside a bank to request a loan.          The awardee is then required to convert the 50% of the property cost into
                                          Ethereum or DAI and deposit it with the protocol for 30 days. At the end of that 30
Since The Atbash Protocol does            days the full 100% of the cost of the property will be sent to the seller and the title
not issue loans but Treasury              will be transferred to the buyer. The Atbash Protocol will hold a lien on the
backed grants, those utilizing this       property for 90 days to ensure that the buyer has fully complied with all state filing
program will be able to purchase          requirements and that the transaction for purchase has been completed and no
a house or property for 50% of its        refunds to the buyer have been issued.
current listing price (See
                                          After 90 days, the Lien will be removed and the buyer will be issued an NFT
infographic below)
                                          containing their grant award certificate acknowledging the buyer now owns the
                                          property free and clear. From the day the property is bought, the user will not be
                                          asked for any additional funds from the Atbash Protocol.
Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 8 of 32 PageID: 36
                        Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 9 of 32 PageID: 37




ATBASH MARKETPLACE
                                             The Atbash Protocol has also done away with the fear that using $BASH tokens to
                                             purchase products and services will require those assets to be liquidated causing
One of crypto currencies biggest             constant downward pressure on the market price of $BASH. Worry no more.
liabilities is its ability to be used a      A secondary feature of the Atbash store is the Atbash Auction House, where users
real world currency in order to              will be able to sell pre-owned goods for $BASH tokens through either normal sales
purchase products and services.              or auction house mechanics. Atbash will be a licensed and bonded FFL and will be
The reason for this liability is the         able to handle direct firearms sales to and for users.
inherent volatility in the price of
tokens used to purchase.                     A loyalty system will be established for Atbash store customers, where rewards
                                             gained from purchases over time can be used for discounts on future purchases,
Vendors accepting crypto                     free shipping, to enter special giveaways, and for preferential access to special
currencies have to worry about               limited supply items that come up for sale.
the price of payment decreasing
during a transition to fiat currency
                                             SMALL BUSINESS, PROPERTY DEVELOPMENT, SUSTAINABILITY GRANTS
and the fees associated with                 The principle that guides the Atbash Housing Bonds will be expanded into the
conversion.                                  areas of small business start up grants, property development grants, agricultural
                                             equipment purchases and many other types of acquisition services.
The Atbash Protocol has
developed a solid system to                  THE ATBASH NFT BONDS
enable purchases of ANY goods or
                                             Why stop at housing? NFTs of digital art have become common and the industry
services offered on the platform
                                             shows no sign of slowing down. The Atbash NFT Bonds will be able to facilitate the
for a price equal to or lower than
                                             purchase of NFTs with less than 50% of the necessary capital from the buyer.
a traditional market.
                                             Sellers will be able to maximize the sale price of their NFTs, Buyers will able to
                                             shop with a line of credit that they never have to repay. All of these transactions
                                             will benefit the treasury and holders of $BASH tokens.
                    Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 10 of 32 PageID: 38




COMMUNITY
                                         It is a place for users to exchange tips and tricks, get in on giveaways, as well
Projects like Atbash are only as         as attend special events, receive troubleshooting help, and to always keep up
strong as the communities they           with the planned direction of the protocol.
are built upon. Many crypto
projects talk a good game about          Community makes the ecosystem work. Through the proper application of
building communities, but few            crypto’s distinct advantages over the traditional banking system, namely its
build the real world tools               flexibility, anonymity and trustless design, The Atbash Protocol believes it can
necessary to make a material             provide the tools necessary for building an entirely separate financial
change to the way things are done        ecosystem while maintaining a completely voluntary architecture.
in the real world.
                                         The Atbash Protocol’s ethos begins and ends foremost with concern for the
                                         people invested and involved in it.
The Atbash community will be
fostered and strongly supported          What the Atbash Protocol can provide for the community is our expertise in
from day one with the goal of            deploying existing technology to build something unique and purpose-driven
building your independence, not          with the singular focus of assisting our community to thrive within our
just financially but also in what        protocol. Given its flexible nature, the Atbash Protocol ecosystem of services
the financial system is supposed         can and will build out over time, to create an ever expanding list of utilities for
to do; assist you in acquiring the       people to take advantage of without the need to ever participate in
real world goods and services that       establishment systems.
money represents.
                                         Atbash is a trip to the moon taken off the beaten path. Join us.
                     Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 11 of 32 PageID: 39


HOW DOES IT                               By focusing on supply growth rather than price appreciation, the Atbash Protocol

WORK?                                     positions $BASH so it can function as a currency that is able to hold its purchasing
                                          power regardless of market volatility. This is essential to accomplishing the goals
                                          of the Atbash Protocol, which is to provide those looking to escape the decaying
                                          cities of their country and begin a new life, a new career or a new community.

Dollar-pegged stablecoins have            The $BASH token serves as both the protocol's stable currency and its governance
become an essential part of the           token. Users who buy $BASH can do one of three things: they can hold onto it,
cryptocurrency market due to              stake it, or provide liquidity. Users who simply hold onto it will not see any benefits
their lack of volatility as compared      compared to holding any other token. Users who stake $BASH will receive back
to tokens such as Bitcoin and             sBASH, which is always 1:1 with $BASH.
Ether. Users are comfortable with
transacting using stablecoins             When the protocol mints $BASH, it is distributed 90% to stakers and 10% to the
knowing that they hold the same           Treasury. Since there is now more $BASH than sBASH and sBASH should be 1:1 to
amount of purchasing power                $BASH, sBASH rebases to bring it back to equilibrium. This allows the ability to
today vs. tomorrow.                       compound yield just by holding the sBASH token. Finally, users can pair their
                                          $BASH with DAI or ETH and provide liquidity to the OHM-DAI or OHM/ETH LP. The
                                          liquidity provider will get back LP tokens which they can then bond (essentially sell
Unfortunately, as anyone who
                                          it to the protocol) to receive $BASH at a discount on a vested schedule. The long
understands economics knows,
                                          term goal is that the $BASH token will function similarly to a traditional stablecoin
this is a fallacy. The dollar is
                                          and will be used to quote product prices as well as in regular transactions.
controlled by the US government
and the Federal Reserve. This
                                          Inflation occurs when the price of 1 $BASH Token is greater than its intrinsic value,
means a depreciation of the dollar        which initially is pegged at $1. When the price of $BASH is greater than $1 the
also means a depreciation of              protocol offers DAI Bonds where users can give DAI to the protocol in exchange for
these stablecoins. The Atbash             $BASH at a discount. Since each $BASH only needs to be backed by 1 DAI in the
Protocol solves this by creating a        treasury the number of DAI given to the protocol is the number of $BASH Tokens
free-floating reserve currency,           that can be minted. The newly minted $BASH tokens are distributed 90% to the
$BASH, that is backed by a basket         stakers and 10% to the Treasury.
of assets.
                    Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 12 of 32 PageID: 40




THE VALUE OF $BASH

Based on the info provided so far,     Each $BASH Token is backed by 1 DAI, not pegged to it. Because the treasury
$BASH might seem like a stable         backs every $BASH with at least 1 DAI, the protocol would buy back and burn
coin, but no it is not. Rather, like   $BASH when it trades below 1 DAI. This has the effect of pushing the price of
Olympus and other similar              $BASH back up to 1 DAI. $BASH could always trade above 1 DAI because there is
protocols, $BASH aspires to            no upper limit imposed by the protocol. Think pegged == 1, while backed >= 1.
become an algorithmic reserve
currency backed by other               The $BASH floor price or intrinsic value is 1 DAI. We believe that the actual price
decentralized assets.                  will always be 1 DAI + premium, but in the end that is up to the market to
                                       decide.
Similar to the idea of the gold
standard, $BASH provides free
floating value in which its users
                                       HOW DOES THIS WORK?
can always fall back on, simply
because of the fractional treasury     At a high level, the Atbash Protocol consists of its protocol managed treasury,
reserves $BASH draws its intrinsic     protocol owned liquidity, bonding mechanisms, and staking rewards that are
value from.                            designed to control supply expansion.

                                       Bond sales generate profit for the protocol, and the treasury uses the profit to
                                       mint $BASH and distribute them to stakers. With liquidity bonds, the protocol is
                                       able to accumulate its own liquidity.
                    Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 13 of 32 PageID: 41




WHAT ARE THE CONCEPTS OF (3,3) AND (1,1)?
(3,3) is the idea that, if everyone     If both actions are beneficial, the actor who moves price also gets half of the benefit
cooperated in The Atbash                (+1). If both actions are contradictory, the bad actor who moves price gets half of the
Protocol, it would generate the         benefit (+1), while the good actor who moves price gets half of the downside (-1). If
greatest gain for everyone (from a      both actions are detrimental, which implies both actors are selling, they both get half
game theory standpoint).                of the downside (-1).
Currently, there are three actions a
                                        Thus, given two actors, all scenarios of what they could do and the effect on the
user can take:
                                        protocol are shown here:

  ● Staking (+2)
  ● Bonding (+1)                                                                     Stake                Bond                   Sell
  ● Selling (-2)
                                                              Stake                  (3, 3)               (1, 3)               (-1, 1)
Staking and bonding are
considered beneficial to the                                  Bond                   (3, 1)               (1, 1)               (-1, 1)
protocol, while selling is
considered detrimental. Staking
                                                               Sell                  (1, -1)              (1, -1)             (-3, -3)
and selling will also cause a price
move, while bonding does not (we
consider buying $BASH from the
market as a prerequisite of                 - If we both stake (3, 3), it is the best thing for both of us and the protocol (3 + 3 = 6).

staking, thus causing a price               - If one of us stakes and the other one bonds, it's also great because staking takes $BASH off the market
move).                                      and puts it into the protocol, while bonding provides liquidity and DAI for the treasury (3 + 1 = 4).

                                            - When one of us sells, it diminishes the effort of the other one who stakes or bonds (1 - 1 = 0).

                                            - When we both sell, it creates the worst outcome for both of us and the protocol (-3 - 3 = -6).
                     Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 14 of 32 PageID: 42




PROTOCOL CONTROLLED VALUE (PCV)
                                        This way, you can easily define the risk of your investment because you know
Protocol Controlled Value (PCV) is      what the protocol will do.
simply the amount of value
controlled by the Atbash Protocol.      In this way, the protocol expands and contracts the supply of $BASH based on
This amount will go up or down          market supply and demand principles. It becomes an algorithmically-controlled
based on the actions taken by           central bank. These decisions are made by the protocol, not people.
users as explained above –
staking, selling, minting bonds.        In short, you can't trust the FED but you can trust the code.

Because the protocol controls the       As the protocol accumulates PCV, more runway is guaranteed for the stakers.
funds in its treasury, $BASH can        This means the stakers can be confident that the current staking Annual
only be minted or burned by the         Percentage Yield (APY) can be sustained for a longer term because more funds
protocol. This also guarantees          are available in the treasury to pay out to investors (stakers).
that the protocol can always back
1 $BASH with 1 DAI. If the price of     PROTOCOL OWNED LIQUIDITY (POL)
$BASH falls below 1 DAI then you
can be confident that the protocol      The Atbash Protocol also owns most of its liquidity thanks to its bond
will indefinitely buy $BASH below       mechanism. This has several benefits:
1 DAI with the treasury assets                 The Atbash Protocol does not have to pay out high farming rewards to incentivize
until no one is left to sell.                  liquidity providers a.k.a renting liquidity
                                               The Atbash Protocol guarantees the market that the liquidity is always there to facilitate
                                               sell or buy transactions.
                                               By being the largest LP (liquidity provider), it earns most of the LP fees which represents
                                               another source of income to the treasury.
                                               All POL can be used to back $BASH or Protocol Approved Loans. The LP tokens are
                                               marked down to their risk-free value for this purpose.
                     Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 15 of 32 PageID: 43




WHAT IF THERE IS A RUN ON THE PROTOCOL?
Fractional reserve banking works         Trenchant analysis by older Austrian-style economists made the strong
because depositors don’t                 argument that it was the formation of the FDIC which ended the Great
withdraw their funds all at once. A      Depression of the 1930’s because it was with deposit insurance that people
depositor’s faith in the banking         gained a measure of confidence.
system rests on regulations and
agencies like Federal Deposit            As the crisis receded from memory, confidence grew. $BASH does not have FDIC
Insurance Corporation (FDIC).            insurance, but it doesn’t need it because it has something better. It has an
                                         incentive structure that protects stakers.
The higher the faith in that system
the lower the needed reserves            To illustrate this let’s take a look at how it performs during a hypothetical bank
within the banking system at any         run. In this scenario, we assume the majority of stakers panic and unstake their
one time. However, when                  tokens from the Atbash Protocol - let’s imagine that the staking percentage
confidence drops, a run on the           stood at 92% and quickly collapsed to 3.3%. The total amount of $BASH now
bank’s deposits can, and often           staked is just 55,000 tokens.
does, occur.
                                         Next, we assume the Risk-Free Value (RFV) inflows to the treasury completely
                                         dry up because no one is willing to put money into a failing bank. This is a
                                         reasonable assumption during a bank run.

                                         To show the final parts of this example, it'd be easier to understand if it was
                                         broken down on the following page
                    Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 16 of 32 PageID: 44

                                         The initial investment of these stakers would be:
BANK RUN                                           $500 $BASH * 55,000 $BASH = $27.5 million
(CONT.)                                 Assume, also the total $BASH supply is 2,082,553 and the RFV is $47,041,833.
                                        Remember that 1 $BASH is backed by 1 USD (DAI). By subtracting these two
                                        numbers, we know 44,959,280 $BASH will get issued to the remaining stakers. In
                                        roughly a year, these stakers who held onto those 55,000 $BASH will have:
As mentioned on the previous
page, this breakdown should                           55,000 + 44,959,280 = 45,014,280 $BASH
make it easier to understand
holistically.
                                        $27.5 million investment made by these stakers will turn into about $45 million
                                        based on cash flow alone if they stay staked (recall that 1 $BASH is backed by 1
Finally, we assume that those last
                                        DAI== 1 USD). So, even if the ‘bank collapses’ those that hold through it will
standing stakers bought in at a
                                        make back ~63% return for their faith and patience.
price of $500 per $BASH.
                                        In this bank run scenario, the stakers who stay staked not only do they get their
                                        money back, but make a substantial return for risk. It is for this reason that (3,3)
                                        isn’t just a popular meme, it is actually a dominant investment strategy.

                                        The above scenario is 1) a kind of worst-case scenario and because of that is 2)
                                        unlikely to play out because when other people see extremely high rewards
                                        being paid to the stakers, they will copy their strategy by buying and staking
                                        $BASH.

                                        This is also why the percentage of $BASH staked in TheAtbash Protocol is
                                        expected to consistently remain over 90% just as other similar protocols like
                                        OHM and TIME have done.
                     Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 17 of 32 PageID: 45




WHAT IS THE ADVANTAGE OF BUYING $BASH?
When you buy and stake $BASH,
                                         WHAT IS REBASING?
you capture a percentage of the          Rebasing is a mechanism by which your staked $BASH balance increases
supply (market cap) which will           automatically. When new $BASH are minted by the protocol, a large portion of it
remain close to a constant.              goes to the existing stakers.

This is because your staked              Because stakers only see their staked $BASH balance instead of $BASH, the
$BASH balance also increases             protocol utilizes the rebase mechanism to increase the staked $BASH balance so
proportionately with change to           that 1 staked $BASH is always redeemable for 1 $BASH.
the circulating supply.
                                          WHAT IS REWARD YIELD?
The implication is that if you buy        Reward yield is the percentage by which your staked $BASH balance increases
$BASH when the market cap is              at the completion of the next epoch. This is also known as rebase rate. You can
low, you would be capturing a             find this number on The Atbash Protocol staking page.
larger percentage of the market
cap.
                                          WHAT IS APY?
                                          APY stands for annual percentage yield. It measures the real rate of return on
                                          your principal by taking into account the effect of compounding interest. In the
                                          case of The Atbash Protocol, your staked $BASH represents your principal, and
                                          the compound interest is added periodically at the completion of every epoch
                                          (2200 Ethereum blocks, or around 8 hours) thanks to the rebase mechanism.
                   Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 18 of 32 PageID: 46




ANNUAL PERCENTAGE YIELD
One interesting fact about
                                        HOW IS THE APY CALCULATED?
APY is that your balance                The APY is calculated from the reward yield (a.k.a rebase rate) using the
will grow not linearly but              following equation:
                                                                                             1095
exponentially over time.                                          APY=(1+rewardYield)

Assuming a daily                        It raises to the power of 1095 because a rebase happens 3 times daily. Consider
compound interest of 2%,                there are 365 days in a year, this would give a rebase frequency of 365 * 3 =
if you start with a balance             1095.
of 1 $BASH on day 1, after
a year, your balance will               Reward yield is determined by the following equation:
grow to about 1377. That is
                                                                                $BASHdistributed
a lot!                                                       rewardYield =
                                                                               $BASHtotalStaked
That’s nice naturally.
                                        The number of $BASH distributed to the staking contract is calculated from
Exponential growth and
                                        $BASH total supply using the following equation:
the law of large numbers,
however, is the kind of
                                                $BASHdistributed = $BASHtotalSupply * rewardRate
thing which is also not
sustainable.
                                        Note that the reward rate is subject to change by the protocol. It will be based
                                        on the rate of PCV locked during the completion of each epoch and should
                                        reach a steady state over time.
                        Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 19 of 32 PageID: 47




LONG TERM, $BASH'S PRICE BECOMES IRRELEVANT
                                            This, in essence, is no different than any other investment strategy. The more time you
As explained previously, your $BASH         are willing to lock up your money for, the more you should expect to be rewarded for
balance will grow exponentially over        your thrift in the future.
time thanks to the power of
compounding.                                Our current monetary system makes access to money too cheap. The rewards are few,
Let's say you buy a $BASH Token for         if any, for holding them over the long term. In fact, Fed policy is always, and without
$400 now and the market decides             fail, expansionary in order to punish savers believing completely in John Maynard
that in 1 year time, the intrinsic value    Keynes’ idea of the Paradox of Thrift, which says that an excess of savings leads to
of $BASH will be $2.                        economic recession.

Assuming a daily compound interest          Savings and deployment of capital should always be a market-driven process. Atbash
rate of 2%, your balance would grow         understands this and your ability to come and go from it as you please is what will, in
to about 1377 $BASH Tokens by the           the long run, determine the optimal rate of savings without the Atbash community.
end of the year, which is worth             But, in no way is this without short-term capital risk. Thus, you should have a long
around $2754.                               investment horizon to allow your $BASH balance to grow exponentially or not partake
That is a $2354 profit or 586% on a         in this at all.
nominal token price loss of 99.5%

What this analysis is telling you is        FUTURE INTRINSIC VALUE?
that today you are paying a premium
for $BASH in exchange for the long-         There is no clear answer for this, but the intrinsic value can be determined by the
term benefit.                               treasury performance. For example, if the treasury could guarantee to back every
                                            $BASH Token with 100 DAI, the intrinsic value will be 100 DAI. It can also be decided by
                                            the Atbash Protocol. For example, if at some point in the future, the token holders with
                                            governance rights, known as a DAO (Distributed Autonomous Organization), decide to
                                            raise the price floor of $BASH, its intrinsic value will rise accordingly.
                       Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 20 of 32 PageID: 48




MAINTAINING THE HIGH STAKING APY
                                          DO I HAVE TO UNSTAKE & STAKE $BASH ON EVERY EPOCH TO GET
Let’s say the protocol targets an APY     MY REBASE REWARDS?
range of 1,000% to 10,000%, this
would translate to a minimum              No. Once you have staked $BASH with the Atbash App, your staked $BASH
reward yield of about 0.2105%, or a       balance will auto-compound on every epoch. That increase in balance
daily growth of about 0.6328%.            represents your rebase rewards.
Please refer to the equation above
to learn how APY is calculated from
the reward yield.                         HOW DO I TRACK MY REBASE REWARDS?
If there are 100,000 $ATBASH              You can track your rebase rewards by calculating the increase in your staked
Tokens staked right now, the              $BASH balance. Record the Current Index value on the staking page when you
protocol would need to mint an            first staked your $BASH. Let's call this the Start Index.
additional 632.8 $BASH Tokens to
achieve this daily growth.                After staking for some time, if you want to determine by how much your balance
                                          has increased, check the Current Index value again. Let's call this the End Index.
This is achievable if the protocol can
bring in at least $632.80 of daily        By dividing the End Index by Start Index, you would get the ratio by which your
revenue from bond sales. Even if          staked $BASH balance has increased.
the protocol doesn't bring in that
much revenue, it can still sustain
1,000% APY for a considerable                                                   endIndex
amount of time due to the excess                                     ratio =
reserve in the treasury.                                                       startIndex
                                          In this example, the $BASH balance has grown by 1.5 times.
                   Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 21 of 32 PageID: 49




STAKING $BASH WITHIN THE PROTOCOL
Staking is the primary value            WHAT IS STAKING?
accrual strategy of the Atbash
Protocol. Stakers stake their
                                       Staking is a passive, long-term strategy. The increase in your stake of $BASH
$BASH Tokens on the Atbash
                                       Tokens translates into a constantly falling cost basis converging on zero. This
Protocol website to earn rebase
                                       means even if the market price of $BASH drops below your initial purchase
rewards.
                                       price, given a long enough staking period, the increase in your staked $BASH
                                       balance should eventually outpace the fall in price.
The rebase rewards come from
the proceeds from bond sales,
                                       When you stake, you lock $BASH and receive an equal amount of sBASH.
and can vary based on the
                                       Your sBASH balance rebases up automatically at the end of every epoch. sBASH
number of $BASH Tokens staked
                                       is transferable and therefore composable with other DeFi protocols. It can be
in the protocol and the reward
                                       lent, staked as part of a liquidity pair, etc.
rate set by monetary policy
which is based on the supply and
                                       When you unstake, you burn sBASH and receive an equal amount of
demand fundamentals of the
                                       $BASH. Unstaking means the user will forfeit the upcoming rebase reward. Note
previous epoch.
                                       that the forfeited reward is only applicable to the unstaked amount; the
                                       remaining staked $BASH (if any) will continue to receive rebase rewards.

                                       This ends up becoming a very efficient way to effectively "make your money
                                       work for you." It's a common DEFI concept that the Atbash Protocol is merely
                                       building upon.
                 Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 22 of 32 PageID: 50




BONDING IN ATBASH
                                      WHAT DOES BONDING DO?
Bonding is the secondary value
                                     Bonding allows the Atbash Protocol to acquire its own liquidity and other
accrual strategy of the Atbash
                                     reserve assets such as ETH or USDT by selling $BASH at a discount in exchange
Protocol. Stakers stake their
                                     for these assets. The protocol quotes the bonder with terms such as the bond
$BASH Tokens on the Atbash
                                     price, the amount of $BASH tokens entitled to the bonder, and the vesting term.
Protocol website to earn rebase
                                     The bonder can claim some of the rewards ($BASH tokens) as they vest, and at
rewards.
                                     the end of the vesting term, the full amount will be claimable.

                                     Bonding is an active, short-term strategy. The price discovery mechanism of
                                     the secondary bond market renders bond discounts more or less unpredictable.
                                     Therefore bonding is considered a more active investment strategy that has to
                                     be monitored constantly in order to be more profitable as compared to staking.

                                     Bonding allows the Atbash Protocol to accumulate its own liquidity. We call
                                     our own liquidity POL. More POL ensures there is always locked exit liquidity in
                                     our trading pools to facilitate market operations and protect token holders.
                                     Since The Atbash Protocol becomes its own market, on top of additional
                                     certainty for $BASH investors, the protocol accrues revenue from LP rewards
                                     bolstering our treasury.
                    Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 23 of 32 PageID: 51




MARKET DYNAMICS OF BONDING/STAKING
There are several feedback               STAKERS CARE PRIMARILY ABOUT THEIR $BASH BALANCE
mechanisms within the system.
                                        While price is important in valuing their $BASH and determining the rate at
These are self-reinforcing
                                        which it grows, it is not their main goal. A smart staker cares about the short and
behaviors.
                                        long term growth prospects of the network. If the network has strong prospects,
                                        and Atbash’s focus on providing real world financial services to differentiate it
Action 1 increases the return on
                                        from other similar projects, then the stakers will stay invested for the long term
action 2 which increases the
                                        ensuring network growth. That growth translates into wealth via price and
return on action 1. Circular
                                        balance growth.
mechanics like this are the
drivers of exponential expansion.
Economists call these boom and           BONDHOLDERS CARE PRIMARILY ABOUT THE $BASH PRICE
bust cycles. Loose monetary
policy enables these dynamics            When they mint a bond, these users lock in a fixed reward in $BASH. Therefore,
while tight policy suppresses            network profitability is only helpful in calculating opportunity cost or gain;
them.                                    bondholders have their $BASH gains locked in.

Here are some perspectives on            The ideal scenario for a bondholder is for the price of $BASH to go up; in this
those involved with the Atbash           case, the bondholder benefits from their discount on $BASH and the increase in
ecosystem and what their                 price over the life of the bond.
incentives are:
                     Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 24 of 32 PageID: 52




ATBASH REAL ESTATE GRANT MARKET DYNAMICS
One of the ways the Atbash               Traditionally, real estate, unless paid for with cash, is financed with onerous
Protocol protects against sudden         long-term mortgages, of which the majority of payments are interest on the
token selloffs is because the            purchase price. While lack of capital has been a problem with the traditional
Atbash Grant Program                     mortgage, human psychology plays an enormous role as well.
disincentivizes people from
trying to achieve short term             Traditional banks would create investment accounts so that their customers
small gains or to minimize losses        could save enough for a downpayment on a house but, over time, seeing their
in a panic environment.                  down payment as nothing more than an entrance point for a 30 year
                                         commitment of principal plus interest, simply chose to take the funds saved and
Holders of $BASH are primarily           use them on less long term commitments.
working towards a multi-phased
goal of growing their investment         Contrastingly, the Atbash protocol, by providing discounts, incentivizes the
& using that growth in principal         purchase of real estate in a novel way. By allowing for users to grow their
to utilize other Atbash programs         investment, not merely to feed speculation, but catalyze the purchase of real-
to buy real estate, build a              world assets, in full, makes a goal not just affordable but achievable.
business etc. by utilizing the
ability of their increase in $BASH       The resulting debt obligations are the financial representation of these
price or token amount for real           purchases. The presence of debt obligations corresponding to real-world assets
world acquisitions makes the             and the protocol’s successful ability to pay them makes a strong case to future
utility of The Atbash decidedly          investors as to the stability of the Atbash protocol.
less of a zero sum game.
      Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 25 of 32 PageID: 53




BONDHOLDERS AND STAKERS
                          Bondholders are still happy if the price remains flat; their profit is the discount
                          from the bond, which they can then stake or mint a new bond. Like stakers,
                          bondholders profit from inactivity at or around their buy-in price via their

THE EBB                   increasing balance.

                          Bondholders lose when the price goes down beyond the discount on the bond.

AND FLOW                  At this point, the bondholder will choose between the $BASH or a return of their
                          original liquidity providing tokens, depending on which one is worth more.
                          Bondholders always get to choose the better of the two assets upon bond

TOWARDS                   maturity, effectively combining the best pieces of both assets' risk to reward
                          profiles.


BALANCE                   The default state of the network lies at the underlying intrinsic value. After some
                          long period of inactivity on the network, $BASH token price will always return to
                          this level.

                          Contractions are conceivably only triggered by short-term liquidity crises. Since
                          $BASH holders have a guarantee that price will come back above intrinsic value
                          eventually, the only sellers below that intrinsic value should be those who need
                          a short term exit and are willing to take the extra loss.

                          So the market dynamics naturally supports both bondholders and stakers as the
                          Atbash Protocol continues to mature.
                  Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 26 of 32 PageID: 54




EXPANSIONS VIA STAKING OR BONDING
                                      Meanwhile, the rising price also increases the bond discount offered to other
                                      token holders and creates capacity for minting new bonds. These are preceded
An increase in staking will
                                      by new liquidity, which improves the protocol's ability to carry out sales and
generally be preceded by
                                      increases available exit liquidity.
purchases from the market.
That increases the price of
                                      This positive price-liquidity feedback loop should serve to create sustainable
$BASH, which allows the
                                      expansionary periods. However, they work both ways. Falling demand
protocol to sell at a higher
                                      decreases staking rewards and bond capacity, causing demand to fall further.
price and it increases the
                                      This is an unavoidable fact of system's like this; even the best (i.e. Bitcoin) are no
yield for stakers.
                                      stranger to significant declines after periods of expansion.
During periods where the
                                      The market is a price discovery mechanism and market prices are always
market feels $BASH is
                                      subject to the supply of buyers and sellers of any commodity at any given price.
undervalued, rising prices
should serve to bring in more
                                      Atbash’s reward system which focuses on long-term incentivizing of stakers
stakers and continue the cycle
                                      should work to mitigate busts. This is where the protocol's reserves step in and
until such time as the supply
                                      to catch the market when velocity turns too far to the downside.
of sellers overwhelms the
new buyers and prices begin
                                      It does so through forward guidance (the fact that the protocol will buy $BASH
a mean reversion process.
                                      lowers risk the lower the price goes, which can mean we don't have to buy) and
                                      by buying perpetually below intrinsic value. The treasury ensures that, although
                                      bear markets and contractions can and will occur, the protocol can never die.
Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 27 of 32 PageID: 55




                             The Atbash Protocol and its developers
                             recognize that some of the programs
                             being produced could create perceived
                             ethical dilemmas which can enhance FUD
                             or create questions in general. In order to
                             address those issues, the developers of
                             The Atbash Protocol will fully disclose any
                             offer of services or grants which would
                             directly benefit any of those developers or
                             their families. Additionally, the developers
                             of Atbash will not allow Atbash Housing
                             Bonds to be used to purchase properties
                             from members of the development team.
                    Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 28 of 32 PageID: 56



                                                                     ATBASH PROTOCOL
THE PRESALE
                                        The Atbash Protocol will launch the presale to the public on January 11, 2022 at
                                        12:00am. A total of 80,000 tokens out of 100,000 minted will be made available
The start of something new is
                                        for a term of 2 weeks preceding the full launch of the Atbash Protocol. This
right around the corner. As the
                                        represents a significant discount to the price that $BASH will be available for at
cogwheels of the well-oiled
                                        the end of the Presale.
machine spins: Atbash Protocol
will begin to live as it starts
                                        The Atbash Protocol will be offering these presale tokens at a price of 50 $BASH
making moves in the space.
                                        Tokens for 1 Ethereum Token. The Proceeds of the Presale will be used to
                                        bootstrap the initial liquidity of the program and provide team resources in
                                        order to fund the future development of the Atbash Protocol’s utilities.

                                        ⅔ of all presale proceeds will be used to fund protocol liquidity and initiatives. ⅓
                                        of the proceeds of the presale will be used to fund the Development Team.
  CHECK OUT OUR SOCIALS
                                        The Presale will conclude on February 7th and the full launch of the Atbash
                                        Protocol will occur on February 8th at 12:00am EST.


                                         PRESALE CHARITABLE GIVING
                                        Each of the Team of The Atbash Protocol has selected a charity to receive 1000
                                        $BASH tokens at Launch. Come join the Discord to hear more about it. The
                                        following pages will show what community prizes there are to get involved with!
Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 29 of 32 PageID: 57
Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 30 of 32 PageID: 58
Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 31 of 32 PageID: 59
Case 2:23-cv-03195-CCC-LDW Document 1-3 Filed 06/12/23 Page 32 of 32 PageID: 60




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